              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:11cr36-3


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )              ORDER
                          )
                          )
JOSE HERNANDEZ SILVA.     )
                          )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Bill of Indictment as to Defendant Silva [Doc. 121].

     For the reasons stated in the Government’s Motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 121] is GRANTED, and the Bill of Indictment is hereby

DISMISSED with respect to the Defendant Jose Hernandez Silva.

     IT IS SO ORDERED.

                                          Signed: October 18, 2011




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